     Case 8-21-71261-reg             Doc 54-2       Filed 11/01/21     Entered 11/01/21 14:37:24




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                    Chapter 7
                                                                          Case No.: 21-71261-reg
JON MCLANE FINOCCHIO and
MARIA GELO FINOCCHIO,

                                    Debtor.
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                                               STIPULATION


        WHEREAS, Jon Mclane Finocchio and Maria Gelo Finocchio, the debtors (the “Debtors”)

filed a voluntary petition for relief pursuant to chapter 7 of title 11 of the United States Code (the

“Bankruptcy Code”) on July 7, 2021 (the “Petition Date”); and

        WHEREAS, Allan B. Mendelsohn was appointed interim trustee (the “Trustee”) and

thereafter did duly qualify as the permanent Trustee; and

        WHEREAS, prior to the Petition Date, the co-debtor was the owner of a certain

engagement ring (the “Ring”) which Ring was not scheduled on the Debtors’ original chapter 7

petition and schedules; and

        WHEREAS, the Debtors amended their chapter 7 petition and schedules and scheduled

jewelry in the amount of $11,000 without indicating specific items of jewelry; and

        WHEREAS, the co-debtor turned over the Ring and the Ring is currently in the possession

of the Trustee; and

        WHEREAS, the co-debtor alleged the value of the Ring to be $9,000; and

        WHEREAS, the Trustee obtained appraisals of the Ring which indicated that the Trustee

could sell the Ring for approximately $11,000-$14,000; and
     Case 8-21-71261-reg         Doc 54-2    Filed 11/01/21      Entered 11/01/21 14:37:24




       WHEREAS, in order to avoid the costs associated with a sale of the Ring, the Trustee has

agreed to accept the sum of $10,000 from the co-debtor and shall sell the estate’s right, title and

interest in the Ring to the co-debtor; and

       WHEREAS, the Debtors waive any claim to any exemption in connection with the Ring;

       IT IS THEREFORE AGREED BY AND BETWEEN THE PARTIES:

       1,      Simultaneous with the execution of this Stipulation, the Debtors shall pay to the

Trustee the sum of $10,000 in full and complete satisfaction of the Trustee’s claims solely as to

the Ring.

       2.      Upon receipt of the signed Stipulation and the sum of $10,000, the Trustee shall

release the Ring to the Debtors and the Debtors shall retain the Ring in their possession until such

time as the Court approves this Stipulation. In the event that the Court should decline to approve

this Stipulation, the Trustee shall return the $10,000 and the Debtors shall turn over to the Trustee

the Ring.

       3.      The Debtors, each and both of them, agree that they have waived any right to any

claim of any exemption as to the Ring.

       4.      This Stipulation is expressly subject to the entry of an Order of the Bankruptcy

Court approving same.

       5.      This Stipulation may be executed in counterparts and a signature by facsimile shall

be sufficient to bind the parties hereto.

       6.      This Stipulation shall be governed in accordance with the Bankruptcy Code.
      Case 8-21-71261-reg      Doc 54-2   Filed 11/01/21    Entered 11/01/21 14:37:24




        7.    The Bankruptcy Court shall retain jurisdiction over this matter to determine any

disputes that may arise hereunder.


Dated: Syosset, New York                          Dated: Brooklyn, New York
       November 1, 2021                                  October 27, 2021

The Kantrow Law Group, PLLC                       Law Office of Rachel S. Blumenfeld, PLLC
Attorneys for the Trustee                         Attorneys for the Debtors

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BY:     S/Jon Mclane Finocchio                    BY:    S/Maria Gelo Finocchio
        Jon Mclane Finocchio                             Maria Gelo Finocchio


SO ORDERED
